         Case 1:22-cr-00007-LKG          Document 591         Filed 12/11/24         Page 1 of 1



                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND


                                                  )
    UNITED STATES OF AMERICA,                     )
                                                  )
    v.                                            )       Criminal Case No. 22-cr-00007-LKG
                                                  )
    MARILYN J. MOSBY,                             )       Dated: December 11, 2024
                                                  )
          Defendant.                              )
                                                  )

                                                 ORDER
         On December 10, 2024, the Defendant, Marilyn J. Mosby, filed a motion for permission
to travel for employment purposes, seeking the Court’s permission to travel to Levelland, Texas
between December 15, 2024, and December 18, 2024, to tour a facility that her company is
considering acquiring. ECF No. 589. On December 10, 2024, the United States Probation
Office for this District informed the Court that, among other things, the Defendant has not
provided her probation officer with an itinerary or daily schedule for the proposed travel. 1

         In light of the foregoing, the Court:

         (1) DIRECTS the Defendant to provide her probation officer with an itinerary and daily
            schedule of her proposed travel on or before December 11, 2024, at 5:00 p.m. The
            Defendant shall provide a courtesy copy of these documents to the Court; and

         (2) HOLDS-IN-ABEYANCE the Defendant’s motion for permission to travel for
            employment purposes, pending receipt of the aforementioned information.

         IT IS SO ORDERED.


                                                      s/ Lydia Kay Griggsby
                                                      LYDIA KAY GRIGGSBY
                                                      United States District Judge



1
  The Defendant did not provide this information in her motion, nor did she provide information regarding
the dates and specific location of her proposed travel in her motion. See ECF No. 589.
